         Case 1:16-cv-00259-BAH Document 13 Filed 04/26/16 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                )
CITIZENS FOR RESPONSIBILITY AND                 )
ETHICS IN WASHINGTON, et al.,                   )
                                                )
       Plaintiffs,                              )       Civ. No. 16-259 (BAH)
                                                )
                 v.                             )
                                                )       RESPONSE TO MOTION
FEDERAL ELECTION COMMISSION,                    )
                                                )
       Defendant.                               )
                                                )

        FEDERAL ELECTION COMMISSION’S RESPONSE TO CROSSROADS
          GRASSROOTS POLICY STRATEGIES’ MOTION TO INTERVENE

       Defendant Federal Election Commission hereby notifies the Court that it consents to the

motion to intervene filed by Crossroads Grassroots Policy Strategies (Doc. No. 8).


Respectfully submitted,

Daniel A. Petalas (D.C. Bar No. 467908)         Harry J. Summers
Acting General Counsel                          Assistant General Counsel
dpetalas@fec.gov                                hsummers@fec.gov

Lisa J. Stevenson (D.C. Bar No. 457628)         /s/ Seth Nesin
Deputy General Counsel – Law                    Seth Nesin
lstevenson@fec.gov                              Attorney
                                                snesin@fec.gov
Kevin Deeley
Acting Associate General Counsel                FOR THE DEFENDANT
kdeeley@fec.gov                                 FEDERAL ELECTION COMMISSION
                                                999 E Street NW
April 26, 2016                                  Washington, DC 20463
                                                (202) 694-1650
